     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 1 of 15 Page ID #:46



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10    Joseph F. Iniguez
11
                           UNITED STATES DISTRICT COURT,
12
                         CENTRAL DISTRICT OF CALIFORNIA
13

14

15
      JOSEPH F. INIGUEZ,                              Case No.: 2:22-cv-00106-MCS-GJS
16
                   Plaintiff,
17
              v.                                      FIRST AMENDED COMPLAINT
18                                                    FOR VIOLATION OF CIVIL
      OFFICER R. MARTINEZ, an                         RIGHTS [42 U.S.C. §§ 1983, 1988]
19
      individual and Officer of the Azusa
20
      Police Department; CITY OF                      DEMAND FOR JURY TRIAL
21    AZUSA, a public entity; and DOES
22    1 to 20,
23
                   Defendants.
24
      _____________________________/
25

26
      / / /
27
      / / /
28


                     FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 1
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 2 of 15 Page ID #:47



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            Plaintiff Joseph F. Iniguez alleges that his civil rights were violated as
2     follows:
3               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF
4     Jurisdiction and Venue:
5          1.      This action for money damages arises under the Civil Rights Acts of
6     1871, 42 U.S.C. §§ 1983, 1985(3), 1988, the First, Fourth, Fifth and Fourteenth
7     Amendments to the United States Constitution, and other applicable federal and
8     state law.
9          2.      This Court has jurisdiction over the Federal Claims in this action based
10    on 28 U.S.C. §§ 1331 and 1343.
11         3.      The unlawful conduct and illegal practices alleged in this complaint
12    were all committed in the Central District of California. Venue therefore lies in this
13    district, pursuant to 28 U.S.C. § 1391(b).
14         Parties:
15         4.      At all times set forth in this complaint and now, plaintiff Joseph F.
16    Iniguez (“Mr. Iniguez” or “Plaintiff”) has been an inhabitant of the United States,
17    and a resident within the jurisdiction of the Central District of California.
18         5.      Defendant City of Azusa (“the City”) is a municipality in the Central
19    District of California and a governmental entity. The Azusa Police Department
20    (“APD”) is a law enforcement agency of the City.
21         6.      Defendant Officer R. Martinez—Serial Number 1140 (“Officer
22    Martinez”) was a Police Officer of the APD at all times relevant to this complaint.
23         7.      Because Plaintiff is ignorant of the true names and capacities of Does 1
24    to 20, he is suing these Defendants by these fictitious names. Plaintiff will seek
25    leave to amend this Complaint to allege their true names and capacities when the
26    true names and capacities are learned. Plaintiff is informed and believes, and on
27    that basis alleges, that the Doe Defendants acted in concert with all of the named
28


                        FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 2
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 3 of 15 Page ID #:48



1
      defendants. The Doe Defendants are being sued in their individual and official
2     capacities.
3            8.   The City also employs all individuals employed by the APD, including
4     Officer Martinez and Doe Defendants 1 to 20. At all times relevant to this
5     Complaint, Officer Martinez and Doe Defendants were duly appointed, duly hired
6     and acting as Police Officers of the City, acting under color of law and under color
7     of statutes, ordinances, regulations, policies, customs and usages of the State of
8     California and the City. Plaintiff was deprived of interests protected by the United
9     States Constitution and laws of the United States, and each and every defendant
10    caused, by commission or omission, these deprivations while acting under color of
11    law.
12           9.   Officer Martinez and Doe Defendants, and each of them, acted as
13    alleged in this complaint, as individuals, and they also acted under color, authority,
14    and pretense of the laws, statutes, regulations, customs and usage of the State of
15    California, the City, and under the authority of their official capacities.
16           10. Plaintiff is informed and believes, and on that basis alleges, that each
17    and every act alleged in this complaint was done by Officer Martinez and the Doe
18    Defendants in the execution and implementation of the official policy, practice and
19    custom of the City and the APD. Plaintiff is informed and believes, and on that
20    basis alleges, that at all times set forth in this complaint each of the individual
21    defendants were the agent or the employee of the remaining defendants, and in
22    doing the acts alleged below, were acting within the scope of his or her agency or
23    employment.
24           11. The acts and omissions complained of in this action (except the City)
25    were engaged in maliciously, callously, oppressively, wantonly, recklessly, with
26    deliberate indifference to the rights violated, despicably, and with evil motive and
27    intent, in disregard of the rights of the Plaintiff.
28


                       FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 3
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 4 of 15 Page ID #:49



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             12. In violation of 42 U.S.C. § 1983, each individual Defendant conspired
2     with the other in order to deprive Plaintiff of his rights as set forth in this action.
3     Facts Common to All Claims for Relief:
4            13. On December 11, 2021, at approximately 11:40PM, Plaintiff and his
5     fiancé, Dale Radford (Radford) were in the drive-thru of the McDonald’s location
6     on Alosta Avenue. Upon entering the drive-thru, Plaintiff noticed the interior of
7     their car light up and soon after, Officer Martinez approached the driver’s side of
8     the car. Officer Martinez asked Mr. Radford if he knew why he was pulled over
9     and then quickly stated that he was able to smell the odor of alcohol from inside
10    the car. Plaintiff advised Martinez that he drank earlier in the evening at a
11    wedding reception, Mr. Radford was acting as a designated driver, and any odor of
12    alcohol was from Plaintiff.
13           14. Officer Martinez asked Mr. Radford to exit the car and began to ask
14    questions related to a driving under the influence investigation. Plaintiff was
15    aware that the Azusa police department does not use body-worn camera or
16    dashboard recording in the patrol car, so Plaintiff exited the car and began to
17    record the interaction with his cell phone to ensure the interaction would be
18    documented. Plaintiff stood near the rear door of the passenger side of the car.
19    Seconds after Plaintiff started recording, Officer Martinez stated, “My name is
20    Corporal Martinez sir, by all means” while looking in the direction of Plaintiff’s
21    camera.1
22           15. Officer Martinez then walked Mr. Radford toward the rear of his patrol
23    car, approximately 20-30 feet from where Plaintiff was standing, and APD Officer
24    Arias, who had arrived on the scene, came to stand within a few feet of Plaintiff.
25    As Officer Arias stayed near Plaintiff, Plaintiff was able to converse with Officer
26    Arias and explained to him that Mr. Radford did the right thing and drove Plaintiff
27

      1
28        Quotations in this Complaint are paraphrased.

                       FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 4
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 5 of 15 Page ID #:50



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      after the wedding. Officer Arias was receptive to Plaintiff’s comments and
2     continued to stand near Plaintiff without incident.
3
           16. Officer Arias told Plaintiff, “You’re recording, and you can have
4
      whatever evidence you need and stuff from that, ok?” Plaintiff noticed that Officer
5
      Martinez was engaging in a DUI investigation with Mr. Radford, so Plaintiff
6
      advised Mr. Radford that he had various rights. Plaintiff told Mr. Radford that he
7
      was under no obligation to answer any questions. Plaintiff explained to Mr.
8
      Radford that the officer needed probable cause to arrest him and that if Officer
9
      Martinez decided to arrest him, Mr. Radford could challenge the arrest in court.
10
           17. As soon as Plaintiff stated an aspect of Mr. Radford’s rights, Officer
11
      Martinez placed handcuffs on Mr. Radford and placed him in the backseat of his
12    patrol car and stated, “Alright, I’m going to deal with your friend here.” Officer
13
      Martinez walked over to Plaintiff and told Plaintiff that he was in public and
14    intoxicated and that Plaintiff would be placed under arrest. Officer Martinez
15
      further stated, “All you had to do was enter the car but you’re indicating to me that
16
      you’re incapable of following simple directions for your safety and the safety of
17
      the public. Therefore, you’re being placed under arrest for public intoxication.”
18
      Officer Martinez never asked Plaintiff to enter the car nor did Officer Arias, who
19
      was standing near Plaintiff nearly the entire time.
20         18. It appeared from Officer Martinez’s demeanor that Officer Martinez was
21
      frustrated that Plaintiff advised Mr. Radford of his rights. He then arrested
22
      Plaintiff without cause for violation of California Penal Code section 647(f) and
23    without probable cause of any other charge. [California Penal Code section 647(f)
24    refers to someone “…Who is found in any public place under the influence of
25
      intoxicating liquor, any drug, controlled substance, toluene, or any combination of
26
      any intoxicating liquor, drug, controlled substance, or toluene, in a condition that
27
      they are unable to exercise care for their own safety or the safety of others, or by
28    reason of being under the influence of intoxicating liquor, any drug, controlled

                     FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 5
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 6 of 15 Page ID #:51



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      substance, toluene, or any combination of any intoxicating liquor, drug, or toluene,
2     interferes with or obstructs or prevents the free use of any street, sidewalk, or other
3
      public way.”]
4
           19. Plaintiff’s statements to Mr. Radford during Officer Martinez’s
5
      interactions with Mr. Radford was speech protected and authorized by the First
6
      Amendment of the United States Constitution; Officer Martinez arrested Plaintiff
7
      as retaliation for this protected speech. Plaintiff was arrested when otherwise
8
      similarly situated individuals not engaged in Plaintiff’s speech.
9
           20. Plaintiff was transported to the Azusa police station. During the intake
10
      process, Plaintiff was asked by an APD jailer as to his sexual orientation; Plaintiff
11
      declined to answer out of fear for his safety. Despite having no answer and no such
12    information, the jailer entered Plaintiff’s sexual orientation as bisexual. Plaintiff
13
      was moved from an intake cell to a cell toward the rear of the jail that was dark,
14    extremely cold, and isolated. Plaintiff did not have shoes or a jacket while in
15
      custody; as a result, the cold was oppressive and injurious.
16
           21. Approximately 60-90 minutes after Plaintiff was placed in the cell,
17
      Officer Martinez returned to advise Plaintiff of what happened to Mr. Radford. It
18
      was clear from Officer Martinez’s physical demeanor that he was attempting to
19
      intimidate Plaintiff while he was in the cell. APD Sergeant Sears later visited
20    Plaintiff’s cell where he was being held in custody and advised that Plaintiff would
21
      not be held for the required six hours and would be released early.
22
           22. Approximately four hours after Plaintiff’s arrest, the jailer walked
23    Plaintiff to the front of the station. As they were walking, APD Sgt. Sears
24    approached and asked the jailer to make sure Plaintiff was able to get a ride home.
25
      Officer Martinez then came by while Plaintiff was waiting for his ride in the lobby
26
      area and told the jailer that he would wait with Plaintiff.
27
           23. Officer Martinez told Plaintiff that he and Plaintiff are the same age and
28    that he has been doing police work since he was 21 years old and that he is a

                      FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 6
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 7 of 15 Page ID #:52



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      Corporal. Plaintiff expressed to Officer Martinez that what happened to Plaintiff
2     that night was inappropriate and that there are avenues of accountability for his
3
      actions. Officer Martinez advised Plaintiff that he has “been through IA before”
4
      and referenced a false arrest. Officer Martinez’s presence near Plaintiff made
5
      Plaintiff uncomfortable and as though he was attempting to intimidate Plaintiff.
6
      Officer Martinez’s actions in the field in arresting Plaintiff as well as his continued
7
      interactions with Plaintiff throughout the night were improper and illegal.
8
           24. Throughout the periods Plaintiff was kept in custody, he was
9     increasingly upset, anxious and distressed; he had done nothing illegal. Plaintiff
10    had been illegally arrested. Plaintiff’s conditions of confinement were harsh.
11         25. In the aftermath of the arrest, the APD released the fact of Plaintiff’s
12    arrest to the public and media. As a result of the release of this information, based
13    on a false and illegal arrest—and the fact that Plaintiff is Chief of Staff to the Los
14    Angeles County District Attorney, the arrest of Plaintiff was reported widely and
15    repeatedly in the press and media. Foreseeably, the media intruded into Plaintiff’s
16    life, going to his home and calling his parents and sibling. Additionally, the
17    reporting included false information suggesting the matter had been referred to the
18    Los Angeles District Attorney and the California Attorney General for criminal
19    filing consideration. The extent and falsity of this reporting caused Plaintiff
20    extraordinary shame and embarrassment, emotional and psychological distress and
21    the physical manifestations of such distress and embarrassment.
22         26. Mr. Iniguez’s emotional and psychological distress and physical injuries
23    include sleeplessness, debilitating anxiety and yet to be diagnosed conditions, all of
24    which continue to this day.
25                               FIRST CLAIM FOR RELIEF
26      (Against all defendants for false arrest pursuant to 42 U.S.C. Section 1983)
27         27. Plaintiff re-alleges and incorporates by reference in this Claim for Relief,
28    each allegation set forth in paragraphs 1 through 26 above.

                      FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 7
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 8 of 15 Page ID #:53



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           28. In acting as described in paragraphs 1 through 26 above, each of the
2     Defendants, acting under color of the statutes, regulations and ordinances of the
3     State of California, and the City, negligently, recklessly, intentionally and in bad
4     faith, deprived Plaintiff of the rights, privileges, and immunities secured and
5     guaranteed to him by the United States Constitution and other laws of the United
6     States as follows:
7                a. The Defendants deprived Plaintiff of his right to be free of
8                   unreasonable searches and seizures, as set forth and assured by the
9                   Fourth and Fourteenth Amendments of the United States Constitution,
10                  by seizing and arresting Plaintiff, and causing Plaintiff to be held in
11                  custody.
12               b. The Defendants conspired with each other in the deprivation of
13                  Constitutional rights which are the subject of 42 U.S.C. § 1983.
14                  Specifically, this conspiracy included an illegal agreement to falsely
15                  arrest Plaintiff and an illegal agreement to make false statements and
16                  create false written reports in an apparent attempt to avoid
17                  prosecution, discipline, termination or civil liability.
18               c. The Defendants maliciously sought the prosecution of Plaintiff by
19                  presenting false report materials and/or verbal reporting.
20               d. The Defendants deprived Plaintiff of his rights under the United States
21                  Constitution for other reasons as stated in paragraphs 1 through 26
22                  above.
23         29. Plaintiff’s rights as described above were clearly established at the time
24    of the violations and wrongful conduct alleged in this Complaint; and Defendants
25    knew, or should have known, of Plaintiff’s rights, and knew, or should have
26    known, that their wrongful and illegal conduct violated Plaintiff’s rights.
27         30.    As a direct, proximate and legal result of the above illegal and wrongful
28
      acts of defendants, and each of the defendants, Plaintiff suffered and continues to

                      FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 8
     Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 9 of 15 Page ID #:54



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      suffer injury, damage, and loss, including, but not limited to the following, in
2     amounts which will be proven at trial:
3               a. Loss of liberty.
4               b. Severe emotional distress.
5               c. Public degradation and obloquy.
6               d. Injury to his reputation.
7               e. Severe emotional and psychological distress.
8               f. Physical injury manifesting and arising from this emotional and
9                  psychological distress.
10         31. Except for claims of punitive and exemplary damages, the facts alleged
11    in this action makes the City liable for the conduct of the individual Defendants as
12    described in this Claim for Relief.
13         32. Plaintiff is entitled to attorney fees pursuant to 42 U.S.C. § 1988.
14         33. Individual Defendants are deficient in the amounts necessary to furnish a
15    suitable remedy to Plaintiff, APD is liable for such deficiency pursuant to
16    California Government Code section 815.2.
17         34. The above-described acts by the individual defendants were willful,
18    oppressive, intentional and malicious; punitive and exemplary damages are
19    therefore warranted to make an example of and punish the individual defendants,
20    in amounts that will be proven at trial.
21                             SECOND CLAIM FOR RELIEF
22      (Against all defendants for retaliatory arrest under the First Amendment of
23        the United States Constitution and pursuant to 42 U.S.C. Section 1983)
24         35. Plaintiff re-alleges and incorporates by reference in this Claim for Relief,
25    each allegation set forth in paragraphs 1 through 34 above.
26         36. In acting as described in paragraphs 1 through 34 above, each of the
27    Defendants, acting under color of the statutes, regulations and ordinances of the
28
      State of California, and the City, negligently, recklessly, intentionally and in bad

                      FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 9
 Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 10 of 15 Page ID #:55



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     faith, deprived Plaintiff of the rights, privileges, and immunities secured and
2    guaranteed to him by the United States Constitution and other laws of the United
3    States as follows:
4               a. The Defendants deprived Plaintiff of his right to engage in free speech
5                  as guaranteed by the First and Fourteenth Amendments of the United
6                  States Constitution, by seizing and arresting Plaintiff, and causing
7                  Plaintiff to be held in custody in retaliation for Plaintiff engaging in
8                  protected speech to Mr. Radford during Officer Martinez’s
9                  interactions with Mr. Radford.
10              b. The Defendants conspired with each other in the deprivation of
11                 Constitutional rights which are the subject of 42 U.S.C. § 1983.
12                 Specifically, this conspiracy included an illegal agreement to falsely
13                 arrest Plaintiff and an illegal agreement to make false statements and
14                 create false written reports in an apparent attempt to avoid
15                 prosecution, discipline, termination or civil liability.
16              c. The Defendants maliciously sought the prosecution of Plaintiff by
17                 presenting false report materials and/or verbal reporting.
18              d. The Defendants deprived Plaintiff of his rights under the United States
19                 Constitution for other reasons as stated in paragraphs 1 through 34
20                 above.
21        37. Plaintiff’s rights as described above were clearly established at the time
22   of the violations and wrongful conduct alleged in this Complaint; and Defendants
23   knew, or should have known, of Plaintiff’s rights, and knew, or should have
24   known, that their wrongful and illegal conduct violated Plaintiff’s rights.
25        38.    As a direct, proximate and legal result of the above illegal and wrongful
26   acts of defendants, and each of the defendants, Plaintiff suffered and continues to
27   suffer injury, damage, and loss, including, but not limited to the following, in
28
     amounts which will be proven at trial:

                     FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 10
 Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 11 of 15 Page ID #:56



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                a. Loss of liberty.
2               b. Severe emotional distress.
3               c. Public degradation and obloquy.
4               d. Injury to his reputation.
5               e. Severe emotional and psychological distress.
6               f. Physical injury manifesting and arising from this emotional and
7                  psychological distress.
8         39. Except for claims of punitive and exemplary damages, the facts alleged
9    in this action makes the City liable for the conduct of the individual Defendants as
10   described in this Claim for Relief.
11        40. Plaintiff is entitled to attorney fees pursuant to 42 U.S.C. § 1988.
12        41. Individual Defendants are deficient in the amounts necessary to furnish a
13   suitable remedy to Plaintiff, APD is liable for such deficiency pursuant to
14   California Government Code section 815.2.
15        42. The above-described acts by the individual defendants were willful,
16   oppressive, intentional and malicious; punitive and exemplary damages are
17   therefore warranted to make an example of and punish the individual defendants,
18   in amounts that will be proven at trial.
19                              THIRD CLAIM FOR RELIEF
20                         (Against the Defendant City pursuant to
21                        42 U.S.C. Section 1983—Monell Liability)
22        43.    Plaintiff re-alleges and incorporates by reference in this Claim for
23   Relief, each allegation set forth in paragraphs 1 through 42 above.
24        44.    Plaintiff is informed and believes, and on that basis alleges, that at all
25   times prior to December 11, 2021, the City and APD permitted, encouraged,
26   tolerated, and ratified a pattern and practice by its employees, including Officer
27   Martinez and Doe Defendants of making false arrests, engaging in unreasonable
28
     searches and seizures, utilizing unreasonable force against citizens, improperly

                     FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 11
 Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 12 of 15 Page ID #:57



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     intimidating and threatening citizens, and disrespecting citizens’ sexual orientation.
2    The City and APD knew or should have known, or were deliberately indifferent to,
3    and failed to appropriately monitor, supervise and discipline law enforcement
4    employees for illegal conduct.
5         45. Plaintiff is informed and believes, and on that basis alleges, that the
6    above acts, omissions and systematic deficiencies are policies, practices and
7    customs of the City and APD; as such, the City and APD caused their employees,
8    including Officer Martinez and Doe Defendants, to disregard the rules and laws
9    governing the standards for treatment of citizens suspected of crimes. The City and
10   APD led their employees to believe that their treatment of citizens would not be
11   honestly and properly investigated and appropriately disciplined, all with the
12   known and foreseeable result that law enforcement personnel are more likely to
13   illegally treat citizens suspected of crimes.
14        46.    Plaintiff is informed and believes, and on that basis alleges, that the
15   above acts, omissions and systematic deficiencies are policies, practices and
16   customs of the City and APD; as such, the City and APD caused their employees
17   to disregard the rules and laws governing standards for making proper arrests.
18   Instead, the City and APD led their employees to believe that false arrests would
19   not be honestly and properly investigated and appropriately disciplined, all with
20   the known and foreseeable result that law enforcement personnel are more likely to
21   act unreasonably to falsely arrest citizens.
22        47.    As a direct, proximate and legal result of the above illegal and wrongful
23   acts, omissions, systematic deficiencies, policies, practices and customs of the City
24   and APD, Officer Martinez and Does 1 to 20, and each of them, intimidated,
25   arrested, jailed and searched Plaintiff illegally.
26        48.    As a direct, proximate and legal result of the above illegal and wrongful
27   acts, omissions, systematic deficiencies, policies, practices and customs of the City
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                     FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 12
 Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 13 of 15 Page ID #:58



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     and APD, Officer Martinez and Does 1 to 20, and each of them caused the Plaintiff
2    to be subject to unreasonable searches and seizures.
3         49.    As a direct, proximate and legal result of the above illegal and wrongful
4    acts, omissions, systematic deficiencies, policies, practices and customs of the City
5    and APD, Officer Martinez and Does 1 to 20, and each of them caused the Plaintiff
6    to be falsely arrested and caused the incarceration of Plaintiff.
7         50. As a direct, proximate and legal result of the above illegal and wrongful
8    acts, omissions, systematic deficiencies, policies, practices and customs of the City
9    and APD, Officer Martinez and Does 1 to 20, and each of them caused the Plaintiff
10   to be subject to unreasonable use of force during the December 11, 2021 arrest.
11        51. Plaintiff is entitled to attorney fees pursuant to 42 U.S.C. § 1988.
12        52. As a direct, proximate and legal result of the above illegal and wrongful
13   acts of defendants, and each of the defendants, Plaintiff suffered and continues to
14   suffer injury, damage, and loss, including, but not limited to the following, in
15   amounts which will be proven at trial:
16              a. Loss of liberty.
17              b. Severe emotional distress.
18              c. Public degradation and obloquy.
19              d. Injury to his reputation.
20              e. Severe emotional and psychological distress.
21              f. Physical injury manifesting and arising from this emotional and
22                 psychological distress.
23         WHEREFORE, Plaintiff prays for judgment and relief as to all claims for
24   relief as follows:
25                 1.     Compensatory damages, including general and special
26                        damages, according to proof;
27

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                        FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 13
 Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 14 of 15 Page ID #:59



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                2.     Exemplary and punitive damages as to the defendants who
2                      are individuals, [not the public entity defendant] according to
3                      proof;
4               3.     Costs and reasonable attorney fees pursuant to 42 U.S.C.
5                      section 1988, and any other applicable statute or authority;
6               4.     Costs of suit; and
7               5.     Any further relief the Court deems just and proper.
8                                             Respectfully submitted,
9                                             Jonas & Driscoll LLP
10   Dated: January 12, 2022                  /s/ Glen T. Jonas
11
                                              _________________________________
                                              Glen T. Jonas
12                                            Counsel for Plaintiff,
13                                            Joseph F. Iniguez
14
                                              Michael H. Artan, Lawyer, APC
15

16
     Dated: January 12, 2022                  /s/ Michael H. Artan
                                              _________________________________
17                                            Michael H. Artan
18                                            Counsel for Plaintiff,
                                              Joseph F. Iniguez
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                     FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 14
 Case 2:22-cv-00106-MCS-GJS Document 10 Filed 01/12/22 Page 15 of 15 Page ID #:60



1
                                DEMAND FOR JURY TRIAL
2
             Plaintiff demands a jury trial as to all issues and claims that may be tried to a
3
     jury.
4
                                              Respectfully submitted,
5
                                              Jonas & Driscoll LLP
6
     Dated: January 12, 2022                  /s/ Glen T. Jonas
7
                                              _________________________________
8                                             Glen T. Jonas
                                              Counsel for Plaintiff,
9
                                              Joseph F. Iniguez
10

11
                                              Michael H. Artan, Lawyer, APC
12
     Dated: January 12, 2022                  /s/ Michael H. Artan
13                                            _________________________________
                                              Michael H. Artan
14
                                              Counsel for Plaintiff,
15                                            Joseph F. Iniguez
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                     FIRST AMENDED COMPLAINT FOR VIOLATIONS OF CIVIL RIGHTS - 15
